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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF PENNSYLVANIA


  UNITED STATES OF AMERICA                              )      3:20-cr-00007
                                                        )      Honorable Kim R. Gibson
         v.                                             )
                                                        )
  CASSANDRA WALLACE                                     )



        DEFENDANT’S POSITIONS WITH REPECT TO SENTENCING FACTORS

        AND NOW, comes the Defendant, Cassandra Wallace, by and through her attorney,

Robert E. Mielnicki, and respectfully submits the following:

        Defendant has received and reviewed the Presentence Investigation Report and discussed

such with Counsel. Counsel has discussed such with the Government and United States Probation

Officer Brittany Prescott. Defendant notes the following:

   1.          On page 4 of the PSIR, it sets forth that Defendant has no dependents. Defendant

   has two (2) children, but such are not technically dependent on her, at this time.

   2.          In paragraph fifty-two (52) of the PSIR, it sets forth that a conviction at Clearfield

   County No. 1191 – 2019 is a three (3) point offense. Defendant submits that such is a two (2)

   point offense. Counsel has discussed this with United States Probation Officer Brittany

   Prescott, who takes the position that Defendant’s parole was revoked, and she was ordered to

   serve thirty-three (33) days which is then added to the maximum imposed originally.

   Defendant had her parole revoked, not probation. Under Pennsylvania law, the maximum jail

   time that a person can get for a parole violation is the unexpired balance of the original term.
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 Defendant does not see the need for an evidentiary hearing.



                                             s/ Robert E. Mielnicki, Esquire
                                             Robert E. Mielnicki, Esquire
                                             Attorney for Defendant
